            Case 8:18-bk-13324-CB Doc 1 Filed 09/06/18 Entered 09/06/18 16:56:35                                                         Desc
                               INCORRECT Main Document Page 1 of 27
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
 CENTRAL
 ____________________             CA
                      District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                             Check if this is an
                                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                          Ruby's Franchise Systems, Inc., a California Corporation
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              3 ___
                                           ___ 3 – ___
                                                    0 ___
                                                       4 ___
                                                          3 ___
                                                             8 ___
                                                                1 ___
                                                                   0 ___
                                                                      1
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                           4100 MacArthur Blvd., Suite 310
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                           Newport Beach              CA       92660
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                           Orange County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                https://www.rubys.com/franchising/
                                           ____________________________________________________________________________________________________


                                                 Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
6.   Type of debtor
                                                 Partnership (excluding LLP)
                                                 Other. Specify: __________________________________________________________________



Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 1
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Debtor          Ruby's Franchise Systems, Inc., a California Corporation
                _______________________________________________________
                                                                    Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                         B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.naics.com/search/ .
                                           7225
                                            ___ ___ ___ ___

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                        Chapter 7
                                            Chapter 9
                                            Chapter 11. Check all that apply:
                                                             Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                             4/01/19 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                            Chapter 12

9.    Were prior bankruptcy cases           No
      filed by or against the debtor
      within the last 8 years?              Yes. District _______________________ When _______________ Case number _________________________
                                                                                              MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an                Yes. Debtor See  Attachment 10.
                                                        _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When             __________________
      List all cases. If more than 1,                                                                                      MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 2
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                               INCORRECT Main Document Page 3 of 27
Debtor        Ruby's    Franchise Systems, Inc., a California Corporation
              _______________________________________________________ Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this   Check all that apply:
      district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                         A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have        No
      possession of any real             Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                    Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                   What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                   attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                   assets or other options).

                                                   Other _______________________________________________________________________________



                                              Where is the property?_____________________________________________________________________
                                                                         Number          Street

                                                                         ____________________________________________________________________

                                                                         _______________________________________         _______      ________________
                                                                         City                                            State        ZIP Code


                                              Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                        Contact name     ____________________________________________________________________

                                                        Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of          Check one:
      available funds                    Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                         1-49                             1,000-5,000                                25,001-50,000
14.   Estimated number of                50-99                            5,001-10,000                               50,001-100,000
      creditors
                                         100-199                          10,001-25,000                              More than 100,000
                                         200-999

                                         $0-$50,000                       $1,000,001-$10 million                     $500,000,001-$1 billion
15.   Estimated assets                   $50,001-$100,000                 $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                         $100,001-$500,000                $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                         $500,001-$1 million              $100,000,001-$500 million                  More than $50 billion




  Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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                                      ATTACHMENT 10

      Debtor:           Ruby’s SoCal Diners, LLC, a Delaware limited liability company
      Relationship:     Affiliate
      District:         Central District
      When:             August 29, 2018
      Case Number:      8:18-bk-13197-CB


      Debtor:           Ruby’s Quality Diners, LLC, a Delaware limited liability company
      Relationship:     Affiliate
      District:         Central District
      When:             August 29, 2018
      Case Number:      8:18-bk-13198-CB


      Debtor:           Ruby’s Huntington Beach, Ltd., a California limited partnership
      Relationship:     Affiliate
      District:         Central District
      When:             August 29, 2018
      Case Number:      8:18-bk-13199-CB


      Debtor:           Ruby’s Laguna Hills, Ltd., a California limited partnership
      Relationship:     Affiliate
      District:         Central District
      When:             August 29, 2018
      Case Number:      8:18-bk-13200-CB


      Debtor:           Ruby’s Oceanside Ltd., a California limited partnership
      Relationship:     Affiliate
      District:         Central District
      When:             August 29, 2018
      Case Number:      8:18-bk-13201-CB


      Debtor:           Ruby’s Palm Springs, Ltd., a California limited partnership
      Relationship:     Affiliate
      District:         Central District
      When:             August 29, 2018
      Case Number:      8:18-bk-13202-CB


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      Debtor:           Ruby’s Diner, Inc., a California Corporation
      Relationship:     Affiliate
      District:         Central District
      When:             September 5, 2018
      Case Number:      8:18-bk-13311-MW




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      Fill in this information to identify the case:

                   Ruby's Franchise Systems, Inc.
      Debtor name __________________________________________________________________

      United States Bankruptcy Court for the: CENTRAL                            CA
                                              ______________________ District of _________
                                                                              (State)
                                                                                                                                               Check if this is an
      Case number (If known):   _________________________
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number, and     Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     email address of creditor       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             contact                         debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
     Bryan Cave LLP                        Kenneth Costello, Partner         Professional                                                               137,358.16
1
     PO Box 503089                         (310) 576-2132
                                           kenneth.costello@bryancave.com    Services
     St. Louis, MO 63150-3089


2
     AFP Saddington LLP                    Hugh M. Saddington                Professional                                                               14,471.00
     18201 Von Karman Avenue               (949) 475-5804                    Services
     Suite 450                             hugh@afpscpa.com
     Irvine, CA 92612-1014
3    McConnell, Dunning & Barwick Curt C. Barwick, Esq.     Professional                                                                                13,200.00
     9960 Research Drive, Suite 100 (949) 900-4400          Services
     Irvine, CA 92618-4322          cbarwick@mdblawyers.com

4    Robert J. Galle                       Robert Galle                                                                                                 11,067.19
     19411 Foxdale Circle                  (714) 343-6570
     Huntington Beach, CA 92648            bgalle@earthlink.net
     Gray Plant Mooty                      RyanPalmer             Professional
5                                                                                                                                                        9,843.00
     80 South 8th Street                   (612) 632-3013         Services
     500 IDS Center                        ryan.palmer@gpmlaw.com
     Minneapolis, MN 55402
     Croudace & Dietrich LLP                Virginia Croudace                                                                                            6,371.66
6                                                                      Professional
     4750 Von Karman Avenue                 (949) 794-9900
                                            virginia.croudace@         Services
     Newport Beach, CA 92660
                                                           c2d2law.com
7    Jeffrey M Verdon Law Group            Kathryn Weber                     Professional                                                                6,200.00
     1201 Dove Street Suite 400            (949) 333-8152                    Services
     Newport Beach, CA 92660               kathryn@jmvlaw.com
     Buckingham Consulting USA             John W. Spotts                                                                                                6,000.00
8    421 West Melrose Street #21BC
                                                                       Professional
                                           (312) 498-1429
     Chicago, IL 60657                     jspotts@buckingham
                                                                       Services
                                                        consulting.net



    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 1
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    Debtor       Ruby's    Franchise Systems, Inc.
                 _______________________________________________________                        Case number (if known)_____________________________________
                 Name




     Name of creditor and complete          Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional           unliquidated,   total claim amount and deduction for value of
                                                                          services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                 Total claim, if    Deduction for       Unsecured
                                                                                                                 partially          value of            claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff


9    Jackson Tidus A Law Corp.             Tracie Forse                   Professional                                                                 5,177.50
     2030 Main Street, Suite 1200,         (949) 851-7602                 Services
     Irvine, CA 92614                      tforse@jacksontidus.law

10 White Nelson Diehl Evans, LLP           Traci T. Tran                  Professional                                                                 4,000.00
     2875 Michelle Drive, Suite 300        (714) 978-1300
     Irvine, CA 92606
                                                                          Services
                                           ttran@wndecpa.com

11 Meissner Bolte                          Heidi Winkelmann               Professional                                                                1,435.00
     PO Box 860624                         +49-89-212186-0                Services
     Munich 80538, Germany                 mail@mb.de
     Outfront Media, Inc.                  Rossell Cibrian-George                                                                                     750.00
12                                                                        Professional
     PO Box 33074                          (323) 276-7201
     Newark, NJ 07188-0074                 rossell.cibrian-george@        Services
                                                     outfrontmedia.com
     Shared Insight Inc.                   Blake Garcia
13                                                                                                                                                     676.77
     1501 N Sepulveda Blvd                 (310) 796-0080, ext. 105
     Suites E and F                        blake.garcia@shared
     Manhattan Beach, CA 90266                              insight.com

14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 2
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                                      ATTACHMENT 10

      Debtor:           Ruby’s SoCal Diners, LLC, a Delaware limited liability company
      Relationship:     Affiliate
      District:         Central District
      When:             August 29, 2018
      Case Number:      8:18-bk-13197-CB


      Debtor:           Ruby’s Quality Diners, LLC, a Delaware limited liability company
      Relationship:     Affiliate
      District:         Central District
      When:             August 29, 2018
      Case Number:      8:18-bk-13198-CB


      Debtor:           Ruby’s Huntington Beach, Ltd., a California limited partnership
      Relationship:     Affiliate
      District:         Central District
      When:             August 29, 2018
      Case Number:      8:18-bk-13199-CB


      Debtor:           Ruby’s Laguna Hills, Ltd., a California limited partnership
      Relationship:     Affiliate
      District:         Central District
      When:             August 29, 2018
      Case Number:      8:18-bk-13200-CB


      Debtor:           Ruby’s Oceanside Ltd., a California limited partnership
      Relationship:     Affiliate
      District:         Central District
      When:             August 29, 2018
      Case Number:      8:18-bk-13201-CB


      Debtor:           Ruby’s Palm Springs, Ltd., a California limited partnership
      Relationship:     Affiliate
      District:         Central District
      When:             August 29, 2018
      Case Number:      8:18-bk-13202-CB


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      Debtor:           Ruby’s Diner, Inc., a California Corporation
      Relationship:     Affiliate
      District:         Central District
      When:             September 5, 2018
      Case Number:      8:18-bk-13311-MW




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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
 Email Address

 Eric J. Fromme, Esq. (State Bar No. 193517)
 efromme@tocounsel.com
 THEODORA ORINGHER PC
 535 Anton Boulevard, Ninth Floor
 Costa Mesa, California 92626-7109
 Telephone: (714) 549-6200
 Facsimile: (714) 549-6201




[Proposed] Attorneys for Ruby's Franchise Systems, Inc., a
California Corporation

                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISIONDIVISION

 In re:
 Ruby's Franchise Systems, Inc., a California                                CASE NO.:
 Corporation                                                                 ADVERSARY NO.:
                                                                             CHAPTER: 11
                                                             Debtor(s).



                                                                                   CORPORATE OWNERSHIP STATEMENT
                                                                                      PURSUANT TO FRBP 1007(a)(1)
                                                            Plaintiff(s),               and 7007.1, and LBR 1007-4



                                                                                                           [No hearing]
                                                         Defendant(s).



Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a
debtor in a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying
all its parent corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly
own 10% or more of any class of the corporation’s equity interest, or state that there are no entities to report. This
Corporate Ownership Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary
proceeding. A supplemental statement must promptly be filed upon any change in circumstances that renders this
Corporate Ownership Statement inaccurate.

I, (Printed name of attorney or declarant)                 Eric J. Fromme                         , the undersigned in
the above-captioned case, hereby declare under penalty of perjury under the laws of the United States that the following
is true and correct:




            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                             Page 1                 F 1007-4.CORP.OWNERSHIP.STMT
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[Check the appropriate boxes and, if applicable, provide the required information.]

1. I have personal knowledge of the matters set forth in this Statement because:

            l am the president or other officer or an authorized agent of the Debtor corporation
            I am a party to an adversary proceeding
            I am a party to a contested matter
            I am the attorney for the Debtor corporation

2. a.       The following entities, other than the Debtor or a governmental unit, directly or indirectly own 10% or more of
            any class of the corporation’s(s’) equity interests:
        Douglas S. Cavanaugh
        Ralph L. Kosmides

        [For additional names, attach an addendum to this form.]

  b.        There are no entities that directly or indirectly own 10% or more of any class of the corporation’s equity
            interest.



Date: 09/05/2018                                                                By:
                                                                                      Signature of Debtor, or attorney for Debtor


                                                                                Name:                   Eric J. Fromme
                                                                                          Printed name of Debtor, or attorney for Debtor




          This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                         Page 2                   F 1007-4.CORP.OWNERSHIP.STMT
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B2030 (Form 2030) (12/15)




                                       United States Bankruptcy Court
                                           CENTRAL DISTRICT OF CALIFORNIA
                                         _______________ District Of _______________


In re         Ruby's Franchise Systems, Inc., a California
              Corporation
                                                                                                 Case No. ___________________

Debtor                                                                                                   11
                                                                                                 Chapter ____________________

                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
      named debtor(s) and that compensation paid to me within one year before the filing of the petition in
      bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
      contemplation of or in connection with the bankruptcy case is as follows:

      For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                                  10,000.00
      Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________

      Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

2.    The source of the compensation paid to me was:

                 Debtor                               Other (specify)

3.    The source of compensation to be paid to me is:

                 Debtor                               Other (specify)

4.             I have not agreed to share the above-disclosed compensation with any other person unless they are
            members and associates of my law firm.

               I have agreed to share the above-disclosed compensation with a other person or persons who are not
            members or associates of my law firm. A copy of the agreement, together with a list of the names of the
            people sharing in the compensation, is attached.

5.    In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
      case, including:

      a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
            file a petition in bankruptcy;

      b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
            hearings thereof;
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B2030 (Form 2030) (12/15)

      d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

      e.   [Other provisions as needed]
           Representation of the Debtor in its Chapter 11 case as general insolvency counsel.




6.    By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                       CERTIFICATION

               I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
            me for representation of the debtor(s) in this bankruptcy proceeding.

             09/05/2018
            ______________________
            Date                                     Signature of Attorney

                                                 Theodora Oringher PC
                                                     Name of law firm
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[Proposed] Attorneys for Ruby's Franchise Systems, Inc., a
California Corporation
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     ABM Industry Groups LLC
     5000 Birch Street Suite 2
     Newport Beach, CA 92660


     Advantage One Escrow
     7777 Center Avenue Suite 350
     Huntington Beach, CA 92647


     AEG Management SD LLC
     dba Valley View Casino Center
     3500 Sports Arena Blvd
     San Diego, CA 92110


     Aetna Life Insurance Company
     PO Box 775392
     Chicago, IL 60677-5392


     AFP Saddington LLP
     18201 Von Karman Ave Suite 450
     Irvine, CA 92612-1014


     Anchor Printing
     649 South B Street
     Tustin, CA 92780


     Box Inc
     Dept 34666
     PO Box 39000
     San Francisco, CA 94139




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